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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
AUSTIN DIVISION
OSR ENTERPRISES AG and OSR R&D
ISRAEL LTD.

Case No.: 1:22-cv-01327-LY

-Vs-

REE AUTOMOTIVE LTD., REE
AUTOMOTIVE HOLDING, INC. and REE
AUTOMOTIVE USA INC.

MOTION FOR ADMISSION PRO HAC VICE

TO THE HONORABLE JUDGE OF SAID COURT:

Comes now Paul J. Burgo , applicant herein, and

moves this Court to grant admission to the United States District Court for the Western District of

Texas pro hac vice to represent OSR Enterprises AG and in this case, and would

OSR R&D Israel Ltd.
respectfully show the Court as follows:

l. Applicant is an attorney and a member of the law firm (or practices under the name of)

KASOWITZ BENSON TORRES LLP

with offices at

Mailing address: 1633 Broadway

City, State, Zip Code: New York, NY 10019

Telephone: (212) 506-1865

Facsimile: (212) 835-5265

Email: PBurgo@Kasowitz.com

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April 18, 2007

Since , Applicant has been and presently is a member of and in

good standing with the Bar of the State of New York

Applicant’s bar license number is 4481016

Applicant has been admitted to practice before the following courts:

Court: Admission date:

SEE ATTACHED LIST

Applicant is presently a member in good standing of the bars of the courts listed above,
except as provided below (list any court named in the preceding paragraph before which

Applicant is no longer admitted to practice):

Applicant has never been subject to grievance proceedings or involuntary removal
proceedings while a member of the bar of any state or federal court, except as provided

below:

Applicant has not been charged, arrested, or convicted of a criminal offense or offenses,

except as provided below (omit minor traffic offenses):

See attached filed in camera and under seal

10.

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Applicant has read and is familiar with the Local Rules of the Western District of Texas and

will comply with the standards of practice set out therein.

Select one:

[ ] Applicant has on file an application for admission to practice before the United
States District Court for the Western District of Texas.

Applicant has co-counsel in this case who is admitted to practice before the United

States District Court for the Western District of Texas.

Constantine Z. Pamphilis

Co-counsel:

Mailing address: 1415 Louisiana Street, Suite 2100
City, State, Zip Code: Houston, Texas 77002
Telephone: (713) 220-8800

Should the Court grant applicant’s motion, Applicant shall tender the amount of $100.00
pro hac vice fee in compliance with Local Court Rule AT-1(f)(2) [checks made payable
to: Clerk, U.S. District Court].

Should the Court grant applicant's motion, Applicant shall register as a filing user within 10
days of this order, pursuant to Administrative Policies and Procedures for Electronic Filing

in Civil and Criminal Cases in the Western District of Texas.
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Wherefore, Applicant prays that this Court enter an order permitting the admission of

Paul J. Burgo to the Western District of Texas pro hac vice

for this case only.

Respectfully submitted,

Paul J. Burgo

[printed name of Applicant]

/ a ———.

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[Signature of Apes

CERTIFICATE OF SERVICE

I hereby certify that I have served a true and correct copy of this motion upon each
attorney of record and the original upon the Clerk of Court on this the _3rd__ day of
January : 2023

Paul J. Burgo

[printed name of Applicant]

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COURT ADMISSION FOR

PAUL J. BURGO

COURT ADMITTED ADMISSION DATE
U.S. Supreme Court June 25, 2018

U.S. Court of Appeals, Tenth Circuit June 3, 2015

U.S. District Court, District of Colorado July 10, 2014

U.S. District Court, Southern District of New York May 1, 2007

U.S. District Court, Eastern District of New York March 31, 2009

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS

AUSTIN DIVISION
OSR ENTERPRISES AG and OSR R&D
ISRAEL LTD.
xVS- Case No. 1:22-cv-01327-LY

REE AUTOMOTIVE LTD., REE
AUTOMOTIVE HOLDING, INC. and REE
AUTOMOTIVE USA INC.

ORDER

BE IT REMEMBERED on this the day of , 20 , there

was presented to the Court the Motion for Admission Pro Hac Vice filed by

Paul J. Burgo (“Applicant”), counsel for _OSR Enterprises AG and and

OSR R&D Israel Ltd.
the Court, having reviewed the motion, enters the following order:

ITIS ORDERED that the Motion for Admission Pro Hac Vice is GRANTED, and Applicant

may appear on behalf of OSR Enterprises AG and in the above case.

OSR R&D Israel Ltd.
IT IS FURTHER ORDERED that Applicant, if Applicant has not already done so, shall,

in compliance with Local Court Rule AT-1(f)(2), immediately tender the amount of $100.00,
made payable to: Clerk, U.S. District Court.

IT IS FURTHER ORDERED that Applicant, pursuant to the Administrative Policies and
Procedures for Electronic Filing in Civil and Criminal cases in the Western District of Texas, shall
register as a filing user within 10 days of the date of this Order.

ITIS FINALLY ORDERED that Applicant’s Pro Hac Vice status shall not become effective

until Applicant has complied with all provisions of this Order.

SIGNED this the day of 20

UNITED STATES DISTRICT JUDGE
